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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:06CR19
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )
                                             )                   ORDER
LETICIA BARRIENTOS,                          )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s unopposed motion to file

objections to the Presentence Investigation Report and a motion for downward departure

instanter (Filing No. 138).

       IT IS ORDERED that the Defendant’s motion to file objections to the Presentence

Investigation Report and a motion for downward departure instanter (Filing No. 138) is

granted.

       DATED this 11th day of October, 2006.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge
